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 4
                               UNITED STATES DISTRICT COURT
 5                            EASTERN DISTRICT OF WASHINGTON

 6
     UNITED STATES OF AMERICA,                     No.   4:15-CR-6010-EFS-4
 7
                               Plaintiff,
 8                                                 ORDER GRANTING DEFENDANT’S MOTION
                  v.                               TO CHANGE HOURS OF CURFEW
 9
     MACARIO ROSALES-SANCHEZ,
10
                               Defendant.
11

12          Before the Court, without oral argument, is Defendant Macario

13   Rosales-Sanchez’s     Motion   to    Change    Curfew    Hours,    ECF   No.   72.   On

14   January 13, 2016, Defendant Rosales-Sanchez was arraigned in this

15   matter. ECF No. 33. On January 15, 2016, a bail hearing was held. ECF

16   No. 54. Magistrate Judge Rodgers set a curfew for Defendant requiring

17   him to be home between the hours of 6:00 p.m. and 6:00 a.m. as a

18   condition of his pretrial release. Id. Defendant asks the Court to

19   adjust those hours to require him to be home from 8:00 p.m. to 7:30

20   a.m. ECF No. 72 at 1. This would allow Defendant to participate in

21   evening activities with his son while still allowing him to take his

22   son to school in the morning. Id. According to defense counsel, the

23   Government    has   no   objection     to   the     modification    of   Defendant’s

24   pretrial release curfew. Id.

25   //

26   /




     ORDER - 1
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 1           Accordingly, IT IS HEREBY ORDERED:

 2           1. Defendant Macario Rosales-Sanchez’s Motion to Motion to Change

 3               Curfew Hours, ECF No. 72, is GRANTED.

 4           2. Defendant’s curfew now runs from 8:00 p.m. to 7:30 a.m.

 5           3. All other previously imposed conditions of pretrial release

 6               remain unchanged.

 7           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 8   Order and provide copies to all counsel and to the U.S. Probation

 9   Office.

10           DATED this _ 17th            _ day of February 2016.

11
                                 _____s/Edward F. Shea______
12                                         EDWARD F. SHEA
                                Senior United States District Judge
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